
*543In re Giordano, Clyde; Plaquemines Parish Government; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Plaquemines, 25th Judicial District Court, Div. “A”, No. 39-506; to the Court of Appeal, Fourth Circuit, No. 95CW-1034.
Granted. Plaintiffs judgment against the parish arises in tort rather than from expropriation or appropriation. La. Const. art. VI, sec. 42(A) does not apply. Accordingly, the judgment of the court of appeal is reversed and the judgment of the trial court maintaining the exception of no cause of action and dismissing the mandamus action is reinstated.
LEMMON and JOHNSON, JJ., would grant and docket.
WATSON, J., joins the grant and order but would add to emphasize the prohibition against seizure of public property or money under the constitution.
CALOGERO, C.J., would deny the writ.
